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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                                REDACTED VERSION
                   V.
                                                UNDER SEAL
 PAUL J. MANAFORT, JR.,
                                                Crim. No. 17-201-1 (ABJ)
 Defendant.


                          DECLARATION IN
                    SUPPORT OF THE GOVERNMENT'S
                BREACH DETERMINATION AND SENTENCING


       I, Jeffrey Weiland, hereby declare as follows:

       A.     Background

       1.     I have been a Special Agent with the Federal Bureau of Investigation

(FBI) since March 2008. I am currently assigned to the Special Counsel's Office. As

a Special Agent, I have previously investigated crimes including the corruption of

public officials, arson, forced labor trafficking, racketeering, and terrorism. Prior to

my employment with the FBI, I worked for seven years as an attorney, including

clerkships with the United States Court of Appeals for the Fifth Circuit and the

District Court for the Northern District of Illinois.

      2.      I submit this declaration pursuant to the Court's Order dated January

8, 2019, to provide the evidentiary basis to support finding the defendant's

statements set out below were false. I have relied on my own work and that of other

members of the team on this matter. This declaration does not contain all the

evidence compiled by the FBI on these issues.

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